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               4
                Entered on Docket
            ___________________________________________________________________
               5August 19, 2014
                     6   ALAN R. SMITH, ESQ.
                         Nevada Bar No. 1449
                     7   HOLLY E. ESTES, ESQ.
                         Nevada Bar No. 11797
                     8   Law Offices of Alan R. Smith
                         505 Ridge Street                                                  ELECTRONICALLY FILED
                     9   Reno, Nevada 89501                                                   August 18, 2014
                         Telephone (775) 786-4579
                 10      Facsimile (775) 786-3066
                         Email: mail@asmithlaw.com
                 11
                         Attorney for Debtors/Defendants
                 12      ANTHONY THOMAS and WENDI THOMAS
                 13
                                                        UNITED STATES BANKRUPTCY COURT
                 14
                                                                      DISTRICT OF NEVADA
                 15
                 16      In Re:                                                   Case No. BK-N-14-50333-BTB
                                                                                  Case No. BK-N-14-50331-BTB
                 17      ANTHONY THOMAS and
                         WENDI THOMAS,                                            Chapter 11 Cases
                 18
                                                                                  [Jointly Administered]
                 19      AT EMERALD, LLC,
                 20
                 21
                                    Debtors,
                 22      ______________________________/
                                                                                  Adv. Pro. No. 14-05022
                 23      KENMARK VENTURES, LLC,
                 24                         Plaintiff,                            ORDER SHORTENING TIME FOR
                                                                                  NOTICE AND HEARING ON
                 25      vs.                                                      MOTION TO WITHDRAW AS
                                                                                  ATTORNEY OF RECORD
                 26      ANTHONY THOMAS and WENDI
                         THOMAS,
                 27                                                               Hearing Date: OST Pending
                                    Defendants.                                   Hearing Time: OST Pending
                 28      ______________________________/
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
 (775) 786-4579          H:\Thomas\Mot WD\OST Mot WD 081814-dlg.wpd
                          Case 14-50333-gs              Doc 173       Entered 08/19/14 10:24:00   Page 2 of 2



                     1            The Court having considered the Movants’s ex parte Motion For Order Shortening
                     2   Time For Notice And Hearing On Debtor’s Motion To Withdraw As Attorney Of Record,
                     3   and good cause appearing therefor, it is hereby
                     4            ORDERED that the Motion For Order Shortening Time is granted, and the hearing
                     5   to consider approval of the Motion To Withdraw As Attorney Of Record shall be conducted
                     6               August 22
                         on ______________________________,          2:00   p
                                                            2014 at _________.m. Any opposition may be
                     7   filed and served upon Debtors’ attorney by facsimile, email or personal delivery no later than
                     8     12:00 Noon, August 21
                         ______________________________,               xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
                                                         2014. Replies may be filed and served no later than
                     9    shall be considered at the hearing
                         ____________________________,       xxxx Service of this Order Shortening Time For Notice
                                                             2012.
                 10      And Hearing On Debtor’s Motion To Withdraw As Attorney Of Record shall be completed
                 11             August 19
                         by _______________________, 2014.
                 12      PREPARED AND SUBMITTED BY:
                 13      LAW OFFICES OF ALAN R. SMITH
                 14      By:     /s/ Alan R. Smith
                           ALAN R. SMITH, ESQ.
                 15        Attorney for Debtors
                 16                                                           ###
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